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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

       v.
                                                    Criminal No. 21-418 (RDM)
 ERIC BOCHENE,

              Defendant.



                                     VOIR DIRE

      Good morning and welcome to the United States District Court. I am Judge

Moss, and I will be the presiding judge in this case. You have been called to this

courtroom for possible selection in a criminal case entitled United States v. Eric

Bochene.

      Would you all please stand so that the Deputy Clerk can swear you in, and

then we will proceed.

      The purpose of jury selection, which you will hear referred to as voir dire, is

to select jurors who have no prior knowledge of the case and no bias toward either

side in the case. In short, it is our aim to select a jury of twelve, with two

alternates, that will reach a verdict based solely on the evidence presented in this

courtroom and the law as I instruct you. During this process, you will be

introduced to the participants in the trial, and I will ask you a series of questions

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that the lawyers and I think will be helpful to us in selecting a fair and impartial

jury. You, of course, are bound by the oath you’ve just taken to truthfully answer

those questions.

      This is a criminal case, in which the defendant, Eric Bochene, is charged by

Information with four counts: Entering and Remaining in a Restricted Building in

violation of 18 U.S.C § 1752(a)(1); Disorderly and Disruptive Conduct in a

Restricted Building, in violation of 18 U.S.C. § 1752(a)(2); Violent Entry and

Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C.

§ 5104(e)(2)(D); Parading, Demonstrating, or Picketing in a Capitol Building, in

violation of 40 U.S.C. § 5104(e)(2)(G). This case arises from events at the U.S.

Capitol on January 6, 2021. The Information alleges that these violations all

occurred on January 6, 2021. Mr. Bochene, who is presumed innocent, denies the

allegations contained in the Information, has entered a plea of not guilty to all of

these charges, and has requested a trial by jury.

      You all should now have an index card and a pen or pencil. If you have not

already done so, please write your juror number in the upper right-hand corner of

your index card. I am now going to ask you a series of questions. They are all

yes/no questions. If you have a “yes” answer to a particular question, please write

the number of the question on your card. Don’t write “yes” or why you have a

“yes” answer; just write the number.


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        After I finish asking you all the questions, we will call you one by one to the

witness stand. At that point, I will ask that you give your card to the Deputy Clerk.

I will then ask you about your answers, and I will provide the lawyers with the

opportunity briefly to follow up on our discussion.

        Here are my questions:

Eligibility

   1.      Do you no longer live in the District of Columbia?

People Involved in the Proceedings

   2.      This is a criminal case entitled United States v. Eric Bochene, 21-cr-418.

           The defendant is charged with four offenses: Entering and Remaining in

           a Restricted Building in violation of 18 U.S.C § 1752(a)(1); Disorderly

           and Disruptive Conduct in a Restricted Building, in violation of 18

           U.S.C. § 1752(a)(2); Violent Entry and Disorderly Conduct in a Capitol

           Building, in violation of 40 U.S.C. § 5104(e)(2)(D); and Parading,

           Demonstrating, or Picketing in a Capitol Building, in violation of 40

           U.S.C. § 5104(e)(2)(G). The charges relate to the events that occurred at

           the U.S. Capitol on January 6, 2021. Do you know or have you heard

           anything about this specific case?

   3.      The Government in this case is represented by AUSA Anita Eve and

           Trial Attorney Michael Romano, and they will be assisted by paralegal


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         Elizabeth Hayman. Do you know these individuals either personally or

         professionally?

  4.     The defendant in this case is Eric Bochene. He is a resident of New

         Hartford, New York. Do you or any of your relatives or friends know or

         know of Mr. Bochene?

  5.     Mr. Bochene is representing himself, but he has with him standby

         counsel, Upong Akpan. Do you know Ms. Akpan either personally or

         professionally?

  6.     If I could ask that you all take a minute to look at the other potential

         jurors: do you recognize or think you know any of the other potential

         jurors in the panel?

  7.     During the presentation of evidence, you may hear testimony from or

         about the following persons: [ADD LIST OF NAMES]. Do you know

         any of these prospective witnesses or individuals?

  8.     The courtroom deputy is Glenda Walker, the court reporter is Tammi

         Sefranek, and my law clerks are Meghan Holloway, Taylor Nicolas, and

         Molly Runkle. Do you know me or any member of my staff?

Presumption of Innocence

  9.     The government has the burden of proving that Mr. Bochene is guilty

         beyond a reasonable doubt, and he is presumed innocent unless and until


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          the government meets that burden. This burden of proof never shifts to

          Mr. Bochene, and because the defendant is presumed innocent, he need

          not offer any evidence. Would you have any difficulty or hesitation with

          respecting this allocation of the burden of proof? Would the fact that Mr.

          Bochene has been charged make it difficult for you to presume that he is

          innocent of those charges?

  10.     Would you be able to keep an open mind and presume that a defendant

          charged with a crime is innocent unless and until proven guilty beyond a

          reasonable doubt?

  11.     A defendant has a constitutional right not to testify, and, if Mr. Bochene

          decides not to testify, I will instruct you that you may not hold that

          silence against him in any way. Would you have any difficulty or

          hesitation following that instruction?

Case-Specific Questions

  12.     Mr. Bochene has elected to exercise his constitutional right to represent

          himself. Is there anything about his decision to represent himself that

          would make it difficult for you to be a fair and impartial juror in this

          case?




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13.     Do you have strong feelings about the nature of the charges in this case

        that would make it difficult for you to render a fair and impartial verdict

        if you are chosen as a juror?

14.     Do you, any family member, or a close friend live or work in or near the

        U.S. Capitol?

15.     Do you or someone close to you have any personal or professional

        connection to events at the U.S. Capitol on January 6, 2021?

16.     Have you ever watched video of what happened at the U.S. Capitol on

        January 6, 2021 on the news or on the Internet? If so, will you have any

        difficulty putting aside any opinions you may have formed about those

        events, following the law as I explain it to you, and deciding the case in a

        fair and impartial manner based solely on the evidence presented in

        court?

17.     A House Select Committee has been holding hearings concerning the

        events at the U.S. Capitol on January 6, 2021. Have you watched the

        televised hearings of the House Select Committee investigating January

        6? If so, will you have any difficulty putting aside any opinions you may

        have formed about the people involved in those events, following the law

        as I explain it to you, and deciding the case in a fair and impartial manner

        based solely on the evidence presented in court?


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  18.     No matter what you have heard or seen about events at the U.S. Capitol

          on January 6, 2021, and any opinions you might have formed about those

          events, would you have any difficult setting your opinions aside and

          deciding this case in a fair and impartial manner based solely on the

          evidence presented in court?

  19.     If you are selected as a juror in this case, I will instruct you to avoid all

          media coverage, including radio, television, podcasts, and social media,

          and not to use the internet with regard to this case for any purpose. That

          is, you will be forbidden from reading newspaper articles about this case,

          listening to radio and podcast stories about this case, watching TV news

          about this case, googling this case, blogging or tweeting about this case,

          or reading or posting comments about this case on any social media sites.

          Do you have any doubt about your ability to follow this instruction?

  20.     As you sit here, do you have an opinion about the defendant’s guilt or

          innocence in this case?

Experience with the Justice System

  21.     Have you served previously on a grand jury or a trial jury in a criminal or

          civil case in any court?

  22.     Have you ever been a witness in any court case? Have you ever been a

          party to a court case?


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  23.     Have you, a family member, or a close friend ever had any legal training

          or ever worked at a law office?

  24.     Have you, a family member, or a close friend ever worked for any of the

          following organizations: First, any type of federal, state, or local law

          enforcement agency, including the Metro Transit Police Department, the

          Metropolitan Police Department, the U.S. Marshals Service, the Capitol

          Police, the Park Police, the Secret Service, the Federal Bureau of

          Investigation, the Drug Enforcement Administration, or any local police

          department? Second, a local, state, or federal prosecutor’s office such as

          the United States Attorney’s Office, or a state’s attorney or

          commonwealth attorney? Third, any public defender, or a private

          criminal defense office? Fourth, any jail, prison, or other type of penal

          institution? Fifth, a private security company?

Opinions on the Criminal Justice System

  25.     Do you have any strong opinions about criminal defendants, defense

          attorneys, or prosecutors that would make it difficult for you to render a

          fair and impartial verdict if you are chosen as a juror?

  26.     There may be testimony from police or other law enforcement officers in

          this case. Would you tend to believe or disbelieve their testimony—or




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          find them more or less credible than other witnesses—merely because

          they are police or law enforcement officers?

  27.     Have you, a family member, or a close friend ever been detained by the

          police, arrested, or charged with a crime?

  28.     Have you, a family member, or a close friend ever been a victim of or

          witness to a crime?

Hardship and Catch-All

  29.     Do you have any health problems that would interfere with your ability to

          sit as a juror in this case? Do you take medication that makes you

          drowsy or makes it difficult to remain alert during these proceedings?

          Do you have any problems with your hearing or eyesight?

  30.     Are you or is anyone with whom you live or with whom you need to

          have frequent contact at heightened risk of severe illness from COIVD-

          19?

  31.     Do you have any difficulty reading, speaking, or understanding English?

  32.     We expect the presentation of evidence in this trial to conclude on

          Thursday, August 10, 2023. After the close of the evidence the jury will

          deliberate until it has reached a decision. Would serving as a juror in this

          case be an extreme hardship to anyone?




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   33.      My final question is what I call my “catch-all question.” This asks

            whether there is any other reason that I haven’t asked about that might

            make it difficult for you to sit fairly, impartially, and attentively as a

            juror. Perhaps you have a religious, moral, or philosophical reason that

            you believe would make it hard for you to be fair. In sum, is there some

            other reason that would make it difficult for you to sit as a fair and

            impartial juror in this case?

         Now, the Deputy Clerk will bring you to the witness stand one by one with

your card. We will go over the information that you have listed and have a

discussion with you about it. We will be starting on the right in the front row and

just make our way through however many of you we need to talk to.

         If you need to use the facilities, you can go outside, and courthouse

personnel can direct you to them. But please come back promptly. Do not wait

around out in the hall. Certainly do not leave this floor of the courthouse.

Sometimes people stand outside the courtroom and start talking among themselves

and it means that the deputy courtroom clerk has to go out and find you. And that

takes time. So please come back into the courtroom promptly.

         I would ask that you not speculate about the case. If you have information

that you are going to be providing me, please do not discuss it with your fellow

jurors so that you do not create problems for them by telling them something that


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may require that I excuse you and then may wind up requiring that I excuse them

as well.

      You may not conduct any independent investigation of the law or the facts in

the case. This means that you cannot conduct any kind of research about this

case—for example, researching any issue on the internet using your phone or

another device, asking any questions of anyone via email or text, or otherwise

communicating about or investigating the facts or law connected to the case.

Similarly, you may not do any investigation about any of the attorneys, witnesses,

or law enforcement personnel in this case. If a family member, friend, or colleague

asks you about the case, you can say that you are being considered for service in a

criminal case, but you may not say anything more, and you may not discuss the

case with anyone.

      You can talk among yourselves, get to know your fellow jurors. This is a

good opportunity to do that. It is a nice cross-section of our community to be able

to talk together; get to know your neighbors. There is no problem with that, so

long as you maintain social distancing. I just ask that you not discuss the case; you

may not discuss the case.

      If you do get up, please look at whoever is on either side of you and where

you are—we put you in order according to the list so we know who you are—and I




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ask that you go back to the same seat when you return. That way, we do not take

you out of order.

      If you run into anyone associated with this case, please do not talk to them

about anything. If you are seen talking to them, I will need to add that to my list of

questions to make sure you are not talking about the case. You are not allowed to

talk about the case. Again, if you are seen talking to counsel or others, even if you

are not talking about the case, I still need to make an inquiry, and that takes a lot of

extra time. We want you to come here without getting additional information from

somebody else. If you are chosen as a juror, you will be required to make your

decision based solely on the evidence that is going to be presented to you in the

courtroom.

      We will do this as quickly as we possibly can. I appreciate your patience.




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